Case 3:21-cv-10092-MAS-JBD Document 159 Filed 04/01/24 Page 1 of 2 PagelD: 8723

UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY

CAMBRIA COMPANY LLC,

Plaintiff,

Civil Action No. 21-10092 (MAS) (JBD)
v.
ORDER

HIRSCH GLASS CORP.,
d/b/a SPECTRUM QUARTZ,

Defendant.

This matter comes before the Court on Hirsch Glass Corporation d/b/a Spectrum Quartz’s
(“Hirsch”) Appeal of Magistrate Judge Day’s Memorandum Orders dated August 31, 2023
(“August Order”) (ECF No. *128) and September 8, 2023 (“September Order”) (ECF No. *131).
(ECF Nos, 135, 136.) Plaintiff Cambria Company LLC (“Cambria) filed separate oppositions to
both appeals, (ECF Nos. 138, 139), and Hirsch replied (ECF Nos. 141, 142). The Court has
carefully considered the parties’ submissions and decides the matter without oral argument under
Local Civil Rule 78.1. For the reasons set forth in the Court’s accompanying Memorandum
Opinion,

IT IS on this Ist day of April 2024, ORDERED as follows:

l. Hirsch’s Appeal of Magistrate Judge Decision (ECF No. 135) is DENIED.

2. Hirsch’s Appeal of Magistrate Judge Decision (ECF No. 136) is DENTED.

3. Within thirty days of the date of this Order, Hirsch shall submit, ex parte, the

materials outlined in the September Order (Sept. Order 26-27) to Magistrate Judge
Day for in camera review. Contemporaneous with its ex parte submission, Hirsch

shall file e-file correspondence with a notice of its submission.
Case 3:21-cv-10092-MAS-JBD Document 159 Filed 04/01/24 Page 2 of 2 PagelD: 8724

4, The parties shall, no later than Monday, April 8, 2024, file a motion to seal that
complies with Local Civil Rule 5.3(c). Should neither party file a motion to seal,
the Court will lift the seal on the Memorandum Opinion.

5. The Clerk of Court shall terminate ECF Nos. 135 and 136.

MICHAEL A. SHIFP ~
UNITED STATES DISTRICT JUDGE

